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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                           :
                                                   :       CRIMINAL ACTION NO.
v.                                                 :       3:04-cr-138 (JCH)
                                                   :
SHONTA MCPHERSON                                   :       DECEMBER 30, 2008

 AMENDED1 RULING RE: MOTIONS FOR REDUCTION OF SENTENCE [Doc. Nos.
                            1883, 2070]

        Defendant Shonta McPherson has filed two Motions for Reduction of Sentence

[Doc. Nos. 1883, 2070] in which he seeks to benefit from the retroactive change in the

sentencing guidelines for crack-cocaine offenses.

        At sentencing,2 the court determined that McPherson was a career offender. Tr.

at 14. Without career offender status, the court noted that McPherson’s offense level

would have been 25 (after accounting for acceptance of responsibility), and his criminal

history category would have been VI. Id. at 14-15. As such, McPherson would have

faced a guidelines range of 110-137 months’ imprisonment. Because he was a career

offender, however, the sentencing guidelines increased his offense level to 34 (after

accounting for acceptance of responsibility), with his criminal history category remaining

at VI. Id. This meant that McPherson faced a guidelines range of 262-327 months’



        1
        This Am ended Ruling is issued solely for the purpose of deleting footnote 2 from the original
Ruling. Upon review of the original Ruling, the court realized that the Guidelines calculation at the tim e of
sentencing correctly applied the applicable, 2003 Guidelines Manual § 2D1.1(a)(3), which has since been
am ended.

        2
           The court has reviewed the PSR, and a transcript of the sentencing proceedings, in connection
with the instant Motions.

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imprisonment. Id.

       McPherson next sought a departure, under the authority of U.S.S.G. § 5K2.0,

based on reasons unrelated to the quantity of cocaine attributable to him.3 In light of

those reasons, and also because the court concluded that the defendant’s criminal

history was significantly over represented by his criminal history category, the court

concluded that a departure was appropriate under U.S.S.G. § 5K2.0(c). Tr. at 33. The

court did not specifically indicate whether it was engaging in a horizontal departure, or a

vertical departure, or both. The court also did not specifically indicate to which offense

level, or criminal history category, it had departed. Ultimately, after taking into account

these grounds for departures, and after weighing all of the factors in 18 U.S.C.

§ 3553(a), the court concluded that a sentence of 150 months imprisonment was

appropriate.

       McPherson is only eligible for a reduction in his sentence if the crack-cocaine

amendments “have the effect of lowering the defendant’s applicable guideline range.”

U.S.S.G. § 1B1.10(a)(2)(B). In United States v. Menafee, No. 04-cr-138 (JCH), 2008

U.S. Dist. LEXIS 60765 (D. Conn. Aug. 5, 2008), this court held that the “applicable

guideline range” is the guideline range calculated before accounting for any departures.

Id. at *7-12. Because of McPherson’s career offender status, his pre-departure

guidelines range is calculated as 262-327 months’ imprisonment both before and after

the recent amendment. Accordingly, his “applicable guideline range” has not been


       3
           These reasons are set out in a sealed Motion he filed shortly before sentencing.

                                                     2
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altered and he is ineligible for a reduction in his sentence.

       McPherson nonetheless suggests that in light of the Supreme Court’s opinions in

Kimbrough v. United States, 128 S. Ct. 558 (2008), and Gall v. United States, 128 S. Ct.

58 (2008), this court somehow retains discretion to resentence him.

       McPherson is mistaken. When a guideline change has been made retroactive,

the court’s sole authority to resentence a defendant arises from 18 U.S.C. § 3582(c).

That statute requires that any resentencing be “consistent with applicable policy

statements issued by the Sentencing Commission.” Id. Here, the relevant policy

statement only permits a sentence reduction if the crack-cocaine amendments “have

the effect of lowering the defendant’s applicable guideline range” within the meaning of

U.S.S.G. § 1B1.10(a)(2)(B). And because the crack-cocaine amendments did nothing

to alter the applicable guideline range for McPherson, this court is statutorily barred

from resentencing him.

       McPherson’s Motions [Doc. Nos. 1883, 2070] are DENIED.

SO ORDERED.

       Dated at Bridgeport, Connecticut, this 30th day of December, 2008.


                                          /s/ Janet C. Hall
                                          Janet C. Hall
                                          United States District Judge




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